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 7
 8                         UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT CALIFORNIA
10
11
12 ALEX DAKIN,                                      Case No.:
                                                                 '19CV0818 GPC BGS
13                           Plaintiff,
14
            v.                                      COMPLAINT FOR DAMAGES
15
     BMW OF NORTH AMERICA, LLC
16                                                  DEMAND FOR JURY TRIAL

17                            Defendant.

18
19                              JURISDICTION AND VENUE
20         1.     This Court has subject matter jurisdiction over this action pursuant to 28
21 U.S.C. § 1331 as the claims alleged herein raise a federal question.
22         2.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because a
23 substantial part of the events or omissions giving rise to the claims in this case
24 occurred in this District, because Defendant regularly and systematically transacts
25 business within this judicial district, and because Plaintiff resides in this judicial
26 district.
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 1                                        THE PARTIES
 2
           3.     The Plaintiff, Alex Dakin, is an adult individual residing in the county of
 3
     San Diego.
 4
           4.     Defendant, BMW of North America, LLC (“BMW”), is a duly organized
 5
     Delaware corporation with its principal place of business located at 300 Chestnut
 6
     Ridge Road in Woodcliff Lake, New Jersey. BMW manufactures, imports, distributes
 7
     and/or sells BMW motor vehicles, and also acts as the authorized representative of
 8
     BMW AG within this judicial district and throughout the United States.
 9
10                                     BACKGROUND
11         5.     BMW, together with its parent company BMW AG, designed and
12 manufactured certain 2012 through and including 2015 model year BMW passenger
13 motor vehicles equipped with the N20 direct injection turbocharged engine (“N20
14 Engines”).
15         6.     If BMW had designed and manufactured the N20 Engines correctly, the
16 N20 Engine chain assemblies should last a minimum of 150,000 miles. However, the
17 primary chain assembly in vehicles equipped with an N20 Engine are constructed of a
18 defective plastic material, causing N20 Engines to prematurely and catastrophically
19 fail. Specifically, the chain guide assembly is made of a defective polycarbonate
20 composition, which over time becomes brittle and breaks into tiny pieces. These
21 polycarbonate shavings accumulate into the oil sump, where they are sucked into and
22 clog the oil pump pick-up screen. This event causes oil pump cavitation, causing
23 failure of the pump to provide lubricating oil to wear/contact surfaces such as
24 crankshaft bearings, and results in the complete failure of the engine.
25         7.     BMW has known about N20 Engine catastrophic failure issues since
26 2013, and BMW began to redesign chain assembly components in an effort to correct
27 system deficiencies that were causing N20 catastrophic engine failures.
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 1         8.    While the defect appears to be cured, there remains a countless number
 2 of 2012 – 2015 BMW vehicles still in use and/or on the market which are equipped
 3 with the defective polycarbonate module. BMW not only failed to alert these vehicle
 4 owners and/or prospective owners of these vehicles that a latent defect exists. Indeed,
 5 the N20 Engine defect was fraudulently concealed and/or actively suppressed by
 6 BMW in order to protect BMW profits from loss of sales from adverse publicity, to
 7 reduce warranty repair costs, and to limit BMW's brand disparagement. Moreover,
 8 when catastrophic engine failure does occur in one of its vehicles equipped with an
 9 N20 Engine, BMW and its authorized dealerships refuse to acknowledge the defect
10 and refuse to replace the engine, causing financial injuries to unsuspecting BMW
11 owners.
12                               FACTS AS TO PLAINTIFF
13         9.    In January of 2018, Plaintiff purchased a pre-owned 2012 BMW X-1
14 equipped with an N20 Engine.
15         10.   In March of 2019, Plaintiff’s vehicle experienced catastrophic engine
16 failure. BMW’s service department record stated Plaintiff’s vehicle suffered: “Engine
17 timing chain module disintegrated causing motor oil starvation." At the time of the
18 failure, Plaintiff’s vehicle had 84,900 miles. Although Plaintiff’s vehicles' chain
19 assembly failure occurred outside the unilateral express warranty period, Plaintiff’s
20 vehicle exhibited unmistakable symptoms of degradation and premature failure due to
21 the N20 Engine defect as aforementioned.
22         11.   Plaintiff is an ordinary vehicle purchaser and does not possess the
23 requisite technical skills in automotive engineering to discern the design,
24 manufacture, materials and workmanship defects in his vehicle’s engine.
25         12.   Had Plaintiff known of the serious defect in the vehicle’s engine, he
26 would not have purchased his BMW, nor would he have purchased the vehicle for the
27 supposed retail value.
28

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 1         13.   In purchasing his vehicle, Plaintiff relied upon material
 2 misrepresentations, fraudulent statements and/or material omissions of BMW,
 3 including but not limited to the useful and expected life of his vehicle’s engine. As a
 4 result, Plaintiff had no knowledge of this serious defect until after his engine suffered
 5 a catastrophic failure.
 6         14.   Even after Plaintiff’s engine failed, BMW intentionally failed to inform
 7 Plaintiff that his vehicle incorporated a serious defect that would cause his engine to
 8 prematurely fail within the reasonably expected useful life of his vehicle, and that the
 9 cause of his engine’s failure was due to the faulty materials and workmanship of
10 BMW. BMW refused to replace Plaintiff’s engine, and as a result, Plaintiff incurred
11 considerable out of pocket expense to replace his engine ($3,850.00).
12         15.   In refusing to replace Plaintiff’s engine, BMW fraudulently,
13 intentionally, negligently and/or recklessly concealed the defects in Plaintiff’s engine,
14 even though BMW and its authorized agents knew or should have known of design,
15 materials and manufacturing defects.
16         16.   BMW breached express and implied warranties and actively and
17 affirmatively misrepresented, fraudulently concealed and suppressed the existence of
18 defects in Plaintiff’s vehicle and omissions in accompanying owner's manual and
19 Warranty and Maintenance pamphlet.
20         17.   BMW’s fraudulent concealment tolls any applicable statutes of
21 limitations herein since the fraudulent misrepresentations concerning the true cause of
22 the failure of his engine was inherently unknowable to Plaintiff given the technical
23 nature of the vehicle design and manufacturing defects, including materials and
24 workmanship.
25         18.   The doctrine of equitable tolling and/or the discovery rule, toll the
26 applicable statutes of limitations for Plaintiff’s vehicle because of BMW’s fraudulent
27 conduct, including but not limited to concealment of his vehicle defect and omission
28 of material facts. BMW fraudulently attributed the failings of Plaintiff’s vehicle chain

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1 assemblies to other factors and/or exculpating conditions for which the BMW had no
2 responsibility.
3
4                                FIRST CLAIM FOR RELIEF
                        (Violation of the Magnuson-Moss Warranty Act)
5
           19.    Plaintiff re-alleges and incorporates by reference herein each of the
6
     allegations set forth above.
7
           20.    The Magnuson-Moss Warranty Act imposes civil liability on any
8
     warrantor for, inter alia, failing to comply with any obligation under a written and/or
9
     implied warranty. 15 U.S.C. § 2310(d)(1).
10
           21.    The Act authorizes suits for damages and other legal and equitable relief
11
     and the award of attorneys’ fees. 15 U.S.C. §§ 2310(d)(1), 2310(e).
12
           22.    The Vehicle is tangible personal property distributed in commerce,
13
     normally used for personal, family, or household purposes. As such, the Subject
14
     Vehicles are “consumer products” as that term is defined in 15 U.S.C. § 2301(1).
15
           23.    Plaintiff purchased his vehicle for household purposes, and therefore
16
     Plaintiff is a “consumer” as the term is defined in 15 U.S.C. § 2301(3).
17
           24.    At all relevant times, BMW has been a company engaged in the business
18
     of designing, manufacturing and selling or leasing vehicles.
19
           25.    BMW is a “warrantor” within the meaning of 15 U.S.C. § 2301(5), and
20
     the warranty is a “written warranty” as that term is defined in 15 U.S.C. § 2301(6).
21
           26.    Plaintiff and the previous owner complied with all warranty and
22
     contractual obligations including all warranty, warranty notice, maintenance and
23
     product use obligations for the vehicle, and both operated the vehicle under normal
24
     anticipated conditions in noncommercial environments.
25
           27.    By refusing to replace Plaintiff’s failed engine and concealing the true
26
     causes of the engine failure, BMW breached both the written and implied warranties.
27
28

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 1         28.    BMW expressly warranted to the general public, owners and lessees of
 2 older vehicles equipped with a faulty N20 engine are merchantable and fit for the
 3 ordinary purposes for which passenger vehicles are used.
 4         29.    BMW failed to remedy the defect in Plaintiff’s vehicle by offering a
 5 replacement of the engine, despite the fact that were defective in materials and
 6 workmanship during the express warranty period although the defects were known to
 7 BMW at that time.
 8         30.    Due to BMW’s active concealment of the defects, Plaintiff could not
 9 have reasonably discovered the defective condition of his vehicle’s engine prior to the
10 failure. As such, BMW should be estopped from asserting that statutes of limitations
11 has expired. Given BMW’s misconduct as aforementioned, the durational limitations
12 of the warranties are oppressive, unreasonable and unconscionable.
13         31.    By concealing the known defect from Plaintiff, and then refusing to
14 replace the failed engine under warranty, Plaintiff suffered a distinct financial injury.
15         32.    As a direct and proximate cause of BMW’s breaches of express and
16 implied warranties, Plaintiff has suffered actual economic damages.
17         33.    As a result, Plaintiff is entitled to judgment against BMW for damages,
18 interest, costs and attorneys' fees.
19
                                SECOND CLAIM FOR RELIEF
20               (Violation of the Song-Beverly Consumer Warranty Act Civil
21                                   Code §1790 et seq.)
22         34.    Plaintiff re-alleges and incorporates by reference herein each of the
23 allegations set forth above.
24         35.    Plaintiff’s vehicle is a consumer good that Plaintiff has used, bought, or
25 leased for use in primarily personal, family or household purposes. As such, the
26 vehicle is a “consumer product” as that term is defined in California Civil Code §
27 1791(a).
28

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 1         36.   At all relevant times, BMW and its parent company has been a company
 2 engaged in the business of designing, manufacturing and selling and leasing vehicles
 3 to the general public. As such, BMW is a “manufacturer” as that term is defined in
 4 California Civil Code § 1791(j).
 5         37.   BMW’s warranty is an “express warranty” as that term is defined in
 6 California Civil Code § 1791.2(a)(1).
 7         38.   Plaintiff’s vehicle contained an implied warranty merchantability running
 8 from BMW to Plaintiff, pursuant to California Civil Code § 1792.
 9         39.   Plaintiff’s BMW included a written 4-year/50,000 mile factory warranty
10 with the express purpose of preserving or maintaining the utility or performance of
11 the Vehicle or providing compensation if there is a failure in utility or performance.
12         40.   More specifically, BMW’s express warranty covers any repairs or
13 replacements needed during the warranty period due to defects in factory materials or
14 workmanship. Any required adjustments or repairs would also be made during the
15 basic coverage period. All warranty repairs and adjustments, including parts and
16 labor, were to be made at no charge. Additional warranties were set forth in Plaintiff’s
17 warranty booklet, and are incorporated herein by reference as though fully set forth.
18         41.   Due to the existence of the warranties, BMW cannot disclaim implied
19 warranties. These warranties were part of the basis of the bargain embodied in the
20 contracts for the purchase of Plaintiff’s vehicle.
21         42.   Notwithstanding the representation in the warranties Plaintiff’s vehicle
22 was free of any defect, Plaintiff vehicle was equipped with an engine that was later
23 discovered to be defective in materials and workmanship, and destined to
24 catastrophically fail prematurely.
25         43.   As a result of the defect, Plaintiff’s vehicle is not fit for the ordinary
26 purposes for which it is used.
27
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 1         44.     Despite being given the opportunity to replace the failed engine, BMW
 2 refused to repair the vehicle so as to bring it into conformity with the warranties set
 3 forth herein.
 4         45.     Due to BMW’s active concealment of the defects in Plaintiff’s vehicle,
 5 Plaintiff could not have reasonably discovered the defective condition of his vehicle’s
 6 engine prior to its failure. As such, BMW should be estopped from asserting that
 7 statute of limitations was running. Given BMW’s misconduct as aforementioned, the
 8 durational limitations of the warranties are oppressive, unreasonable and
 9 unconscionable.
10         46.     As a direct and proximate result of BMW’s willful violation of its
11 obligations under the Song-Beverly Consumer Warranty Act, Plaintiff has suffered
12 damages, including but not limited to money expended to replace the failed engine,
13 other incidental and consequential damages, and attorneys’ fees which Plaintiff has
14 incurred and will continue to incur in order to protect his rights in this matter.
15         47.     Under California Civil Code § 1794(d), Plaintiff is entitled to recover a
16 sum equal to the aggregate amount of costs and expenses, including attorneys’ fees.
17
                                 THIRD CLAIM FOR RELIEF
18                     (Violations of Unfair Competition Law - Business &
19                             Professions Code § 17200, et seq.)
20         48.     Plaintiff re-alleges and incorporates by reference herein each of the
21 allegations set forth above.
22         49.     California’s Business & Professions Code § 17200 et seq. (the “Unfair
23 Competition Law” or “UCL”) defines unfair competition to include any unlawful,
24 unfair or fraudulent business act or practice. Unfair competition also includes “unfair,
25 deceptive, untrue or misleading advertising.” Unfair competition also includes
26 “unfair, deceptive, untrue or misleading advertising.”
27       50. BMW’s conduct as alleged above has been and will continue to be

28 unlawful in that the conduct constitutes and will continue to constitute a violation of

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 1 the Song-Beverly Consumer Warranty Act, and the Magnuson-Moss Warranty Act, as
 2 alleged herein.
 3         51.   BMW’s conduct as alleged above has been and will continue to be unfair
 4 in that the harm to Plaintiff and other Californians arising from BMW’s conduct
 5 outweighs the utility, if any, of the conduct alleged above.
 6         52.   BMW’s conduct as alleged above has been and will continue to be
 7 fraudulent and likely to deceive reasonable California consumers in that BMW has
 8 omitted and/or failed to disclose, and will continue to omit and/or fail to disclose,
 9 material facts regarding the true reasons for catastrophic engine failures in older
10 vehicles equipped with an N20 Engine.
11         53.   BMW had, and has, a duty to disclose these material facts, and its failure
12 to disclose the true reason for the catastrophic engine failure as described herein
13 constitutes deception by omission. This unfair omission of material facts is a violation
14 of the UCL in that Plaintiff and any other reasonable California consumer would have
15 considered them important in deciding whether or not to purchase a BMW used
16 vehicle.
17         54.   Had Plaintiff and/or other California consumers been informed of the
18 latent defect, they would not have purchased BMW vehicles at the price paid or
19 would have purchased the vehicle with a different engine.
20         55.   BMW further violates the UCL by systematically refusing to replace the
21 engine rather than honoring its warranty on this latent defect. This unfair practice
22 caused distinct monetary harm to Plaintiff, and likely to other BMW purchasers
23 throughout the state of California.
24         56.   As a result of BMW’s practices, Plaintiff and other California consumers
25 have suffered and will continue to suffer injury in fact and lost money or property.
26         57.   As a direct and proximate result of the acts and practices alleged above,
27 pursuant to California Business & Professions Code §17203, Plaintiff is entitled to
28 damages.

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 1                                PRAYER FOR RELIEF
 2
 3     WHEREFORE, Plaintiff seeks judgment for the following:
 4        A.    Injunctive and declaratory relief as pled or as the Court may deem
 5        proper;
 6        B.    An award of damages and restitution in favor of Plaintiff and any other
 7        California consumers similarly injured;
 8        C.    Interest as allowable by law;
 9        D.    An award of reasonable attorneys’ fees as provided by applicable
10        aforementioned laws;
11        E.    All costs of suit; and
12        F.    Such other and further relief as this Court deems just and proper.
13
14
15     DATED: May 2, 2019                       HUSSIN LAW

16                                              By: /s/ Tammy Hussin
17                                              Tammy Hussin, Esq.
                                                Attorney for Alex Dakin
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